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February 25, 2022

Gino Bartolai, Esq.
238 Williams Street
Pittston, PA 18640

Dear Attorney Bartolai,

| am writing this letter on behalf of Ross Roggio. His parents have been neighbors
almost 26 years. | met Ross when he would visit his parents with his wife and his
daughters. When he was visiting, he was always friendly and courteous when we
were together and always willing to lend a neighborly hand to help myself and
other neighbors from simple things to a complex building project. He is a loving
father who has always taken care of his girls even after he divorced, he would
bring them to visit their grandparents and positively interact with myself and
others in the neighborhood. When he moved back to the area full time, he would
continue to bring his girls to visit their grandparents.

Ross has always been there to help his elderly parents especially now as his father
needs constant care. Since he has been staying with his parents, he has done a
lot of work for me and done an excellent job. He is very knowledgeable about
construction. He is well educated. We had some deep discussions on many topics
during the times we spent together. | learned more about Ross and have come to
realize he is a decent giving person and consider him a friend. Recently during my
foot surgery he continued to extend his neighborly help with tasks that | could not
do without asking, just doing.

| would find it very difficult to believe the Ross Roggio | know could commit what
he is accused of doing.

Sincerely,

William Skinner

DEFENDANT’S
EXHIBIT

x

 
